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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

 Patricia A. Prephan ,                              Case No. 3:11-cv-00434

                                Plaintiff,                   NOTICE
                                                    CASE MANAGEMENT CONFERENCE
                -vs-
                                                    JUDGE JACK ZOUHARY
 NCO Financial Systems, Inc,et al.,

                                Defendant.


       This case is subject to the provisions of Local Rule 16.1 of the Northern District of Ohio

entitled “Differentiated Case Management” (DCM). Counsel are expected to familiarize themselves

with applicable Local Rules and Federal Rules of Civil Procedure. The Court shall evaluate this case

pursuant to Local Rule 16.1 and assign this case to an appropriate management track (expedited,

standard, complex, mass tort and administrative) described in Local Rule 16.2(a). The track

assignment will dictate time lines for discovery, motions and trial. Unless otherwise ordered,

discovery shall be guided by Local Rule 26.1 and motion practice shall be guided by Local Rule 7.1.

                 SCHEDULING OF CASE MANAGEMENT CONFERENCE

       The Case Management Conference (CMC) shall be held on March 31, 2011 at2:00 PM

before Judge Jack Zouhary, in Room 203, Ashleys Courthouse, 1716 Spielbusch Avenue, Toledo,

Ohio. Counsel shall attend in person and be prepared to discuss settlement. Parties may attend by

phone or in person.

       Local Rule 16.3(b) requires the attendance of both parties and lead counsel. “Parties” means

either the named individuals or, in the case of a corporation or similar legal entity, a person who is

familiar with the case. If the presence of a party or lead counsel will constitute an undue hardship,
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call opposing counsel and the Judge’s Chambers (419-213-5675) at least one week prior to the

conference to request participation by telephone and, if allowed, to provide phone number where

counsel and client may be reached.

                      APPLICATION OF FEDERAL CIVIL RULE 26(a)

       Rule 26(a) mandates required disclosures in lieu of discovery requests unless otherwise

stipulated or directed by Order of the Court or by Local Rule. Initial Disclosures shall be exchanged

no later than two weeks prior to the CMC in order that counsel may knowledgeably complete

the Report of the Parties. If additional time is needed, please call Chambers (419-213-5675).

In this case, all disclosures mandated by Rule 26(a) shall apply, including Initial Disclosures, Expert

Testimony, and Pre-Trial Disclosures.

       Prior to the CMC, parties may undertake such informal or formal discovery as mutually

agreed. Absent such agreement, no preliminary formal discovery may be conducted prior to the

CMC except as necessary and appropriate to support or defend against any challenges to jurisdiction

or claim for emergency, temporary, or preliminary relief. Local Rule 30.1 governs conduct at

depositions, and counsel shall comply with this Rule.




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                                 TRACK RECOMMENDATION

        Pursuant to Local Rule 16.2(a), and subject to further discussion at the CMC, the Court

recommends the following track: [STANDARD] which means trial date will be no later than June

2012.

                          PREPARATION FOR CMC BY COUNSEL

        The general agenda for the CMC is set by Local Rule 16.3(b). Counsel should be prepared

to discuss claims and defenses in detail with the Judge.

        Counsel for Plaintiff(s) shall arrange with opposing counsel to hold the meeting required by

Federal Civil Rule 26(f) and Local Rule 16.3(b). A Report of this planning meeting shall be jointly

signed and filed at least three (3) days before to the CMC. The Report shall be in a form

substantially similar to Attachment l.

                            FILING OF DISCOVERY MATERIALS

        Unless otherwise ordered, initial disclosures and discovery materials shall not be filed except

where submitted in support of a motion or for use at trial. More detail on Judge Zouhary’s case

management practices and trial procedures can be found at the Court’s website:

www.ohnd.uscourts.gov.



                                                      GERI M. SMITH,
                                                      Clerk of Court

                                                        /s/ DEANNA L. COX
                                                      DeAnna L. Cox
                                                      Courtroom Deputy for Judge Zouhary




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                                          ATTACHMENT 1


                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF OHIO
                                    WESTERN DIVISION


 ,                                                      Case No.

                                 Plaintiff,             REPORT OF PARTIES’
                                                        PLANNING MEETING
                -vs-
                                                        JUDGE
 ,

                                 Defendant.

        l.     Pursuant to Fed. R. Civ. P. 26(f) and L.R. 16.3(b), a meeting was held on

                       , and was attended by:

                                          Counsel for Plaintiff(s)

                                          Counsel for Defendant(s)

        2.     The parties:

        _____ Have exchanged the pre-discovery disclosures required by Rule 26(a)(l) and the

               Court’s CMC Notice; or

        _____ Have permission from the Court to delay disclosure until after the CMC.

        3.     The parties recommend the following track:

        _____ Expedited       _____ Standard       _____ Complex

        _____ Administrative      _____ Mass Tort

        4.     This case         is /         is not suitable for Alternative Dispute Resolution (“ADR”)

(e.g., mediation, arbitration, summary trial).
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       5.      The parties           do/       do not consent to the jurisdiction of the United States

Magistrate Judge pursuant to 28 U.S.C. 636(c).

       If you are consenting to the jurisdiction of the Magistrate Judge, please contact the Judge’s

Chambers (419-213-5675) prior to the Case Management Conference. A Consent to the Exercise of

Jurisdiction will then be issued for signature by all parties and the case will be sent to the Magistrate

Judge for the Case Management Conference and all further proceedings.

       6.      The parties agree that this case _____ does / _____ does not involve electronic

discovery. (Counsel are reminded to review the default standard for e-discovery set forth in

Appendix K to the Local Rules.)

       7.      Recommended Discovery Plan:

               (a)     Describe the subjects on which discovery is to be sought, the nature and extent

of discovery and any potential problems: _____________________________________________

_______________________________________________________________________________

_______________________________________________________________________________

               (b)     Describe anticipated e-discovery issues (i.e., what ESI is available and where

it resides; ease/difficulty and cost of producing information; schedule and format of production;

preservation of information; agreements about privilege or work-production protection, etc.):

________________________________________________________________________________

_______________________________________________________________________________

_______________________________________________________________________________

       8.      Recommended cut-off for amending the pleadings and/or adding additional parties:

                                                                __________________

       9.      Expert disclosures:


                                                   2
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            (a)    Names by:              __________________

            (b)    Reports by:            __________________

            (Note: Depositions allowed only upon showing of good cause.)

      10.   Discovery deadlines:

            (a)    Liability:             __________________

            (b)    Damages:               __________________

      11.   Recommended dispositive motion date:          ___________________

      12.   Recommended date for telephone status:        ___________________

      13.   Other matters for the attention of the Court: _______________________________

_______________________________________________________________________________

_______________________________________________________________________________




                                   Attorney for Plaintiff(s):      s/


                                   Attorney for Defendant(s):      s/




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